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11   Attorneys for Plaintiffs

12
                                      UNITED STATES DISTRICT COURT
13
14                              NORTHERN DISTRICT OF CALIFORNIA

15                                       SAN FRANCISCO DIVISION
16
17   KLAMATH FOREST ALLIANCE, et al.                 No.: 3:23-cv-3601-RS

18                      Plaintiffs,
            v.
19                                                   CERTIFICATE OF SERVICE
20   UNITED STATES FOREST SERVICE,                   REGARDING SERVICE OF PROCESS

21                      Defendants.

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1                                     CERTIFICATE OF SERVICE
2                               REGARDING SERVICE OF PROCESS
3           In accordance with Fed. R. Civ. Proc. 4(i), Civil Local Rule 4.2 and 5-5(a)(2), and the
4    Hon. Judge Richard Seeborg’s Civil Standing Order, I declare that I mailed copies of the
5       •   Summons;
        •   Complaint and Civil Cover Sheet;
6       •   A copy of the Order Setting Initial Case Management Conference and ADR
            deadlines issued pursuant to Civil L.R. 16-2(a), (b) or (c);
7       •   Judge Richard Seeborg’s “Supplemental Standing Order Re: Initial Case
            Management”;
8       •   “Standing Order for All Judges of the Northern District of California – Contents
            of Joint Case Management Statement”;
9       •   Judge Richard Seeborg’s “Guidelines For Final Pretrial Conference In Bench
            Trials Before Chief District Judge Richard Seeborg”; and
10      •   The Court’s “Joint Case Management Statement & [Proposed] Order”
11
     for Klamath Forest Alliance, et al. v. U.S. Forest Service, Civ. No. 3:23-cv-3601-RS, filed in the
12   United States District Court for the Northern District of California, San Francisco Division, by
13   U.S. Certified Mail (see attached receipts) to the following persons or entities on July 27, 2023,
14   thereby effecting service of process.
15
            United States Forest Service                   U.S. Department of Justice Room B-103
16          c/o Randy Moore, Chief                         Merrick Garland, U.S. Attorney General
            1400 Independence Avenue, S.W.                 950 Pennsylvania Avenue, N.W.
17          Washington, D.C. 20250-1111                    Washington, D.C. 20530-0001
18          Civil Process Clerk
            Office of the United States Attorney
19          11th Floor, Federal Courthouse
            450 Golden Gate Avenue
20          San Francisco, CA 94102
21
22          I further declare that I am at least 18 years of age and not a party to this action.
23   Respectfully submitted this 27th day of July, 2023.
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27
                                                   Kelly Chang
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     Case No. 3:23-cv-3601-RS – CERTIFICATE OF SERVICE
     REGARDING SERVICE OF PROCESS                                                                     2
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